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 6   TABULA RASA HEALTHCARE, INC.
 7
 8                         UNITED STATES DISTRICT COURT
 9                        CENTRAL DISTRICT OF CALIFORNIA
10
11   VIGILANT LLC,                                 Case No.
12                   Plaintiff,                    DEFENDANT TABULA RASA
                                                   HEALTHCARE, INC.’S NOTICE
13           v.                                    OF REMOVAL
14   TABULA RASA HEALTHCARE,
     INC., a corporation doing business as
15   prescribed wellness; and DOES 1
     through 10, inclusive,
16
                     Defendants.
17
18
     TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
19
     DISTRICT OF CALIFORNIA:
20
             PLEASE TAKE NOTICE that Defendant Tabula Rasa HealthCare, Inc.
21
22   (“Tabula Rasa” or “Defendant”) hereby removes the matter of Vigilant LLC v.
23
     Tabula Rasa HealthCare, Inc.; and DOES 1 through 10, inclusive (Orange County
24
     Superior Court, Case No. 30-2021-01214291-CU-CL-CJC) to the United States
25
26   District Court for the Central District of California, based on the Court’s removal
27
     jurisdiction under 28 U.S.C. § 1441, and the Court’s diversity jurisdiction under 28
28
                                               1
                                  DEFENDANT’S NOTICE OF REMOVAL
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 1   U.S.C. § 1332(a), on the grounds that it is a civil action wherein the amount in
 2
     controversy exceeds the sum of $75,000 and is between citizens of different states.
 3
 4                                         BACKGROUND
 5           In accordance with 28 U.S.C. § 1446(a), the following is a short and plain
 6
     statement of the grounds for removal of the case and a listing of pleadings to date.
 7
 8           1.    On August 5, 2021, Plaintiff Vigilant LLC (“Vigilant”) filed a
 9   Complaint against Defendant in the Superior Court. See Ex. A to Declaration of
10
     Nona Yegazarian (“Yegazarian Decl.”). Plaintiff filed a Notice of Service alleging
11
12   it served an agent of Defendant authorized to accept service on August 11, 2021.
13   See Yegazarian Decl. Ex. A. Defendant has not otherwise been served with any
14
     other process, pleadings, or orders pursuant to 28 U.S.C. § 1446(a).
15
16           2.    Attached as Exhibit A to the Yegazarian Decl. is a true and correct
17   copy of the Complaint with Summons, Civil Case Sheet, Proof of Service, and Case
18
     Management Conference Order.
19
20           3.    Plaintiff’s Complaint alleges claims for breach of contract, book
21   account, and account stated. See id. It seeks damages for the sum of $353,190
22
     together with interest, costs of suit, attorneys’ fees, and other relief as the Court
23
24   deems just and proper. See id.
25
             4.    This Notice has been filed in a timely manner pursuant to 28 U.S.C. §
26
     1446(b)(1), in that this Notice has been filed within thirty (30) days of allegedly
27
28   being served with “a copy of the initial pleading setting forth the claim for relieve
                                                2
                                        NOTICE OF REMOVAL
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 1   upon which such action or proceeding is based.” Plaintiff filed a Proof of Service
 2
     that alleges it properly served Defendant on August 11, 2021. See Yegazarian Decl.
 3
 4   Ex. A. Because this Notice has been filed within thirty (30) days of service of
 5   Plaintiff’s Complaint, it is timely.
 6
                                    DIVERSITY JURISDICTION
 7
 8           5.    This Court has original jurisdiction over this case under 28 U.S.C. §
 9   1332, and removal is proper under 28 U.S.C. § 1441(a) because diversity
10
     jurisdiction exists as follows.
11
12           6.    Plaintiff’s Citizenship: Plaintiff does not identify its citizenship in the
13   Complaint. Upon information and belief, Defendant understands Plaintiff’s
14
     citizenship to be Ohio. Plaintiff is a limited liability company, which means its state
15
16   citizenship is determined by the citizenship of its members. Lincoln Property Co. v.
17   Roche (2005) 546 US 81, 84, fn. 1; Hart v. Terminex Int'l (7th Cir. 2003) 336 F3d
18
     541, 542; West v. Louisville Gas & Elec. Co., (7th Cir. 2020) 951 F3d 827, 829-830
19
20   (“court needs to know the citizenships of every partner or member, tracing through
21   however many layers there may be”). Upon information and belief, Plaintiff’s
22
     members are Chris Nyhuis and Katherine Nyhuis. Yegazarian Decl. Ex. B.
23
24   Plaintiff’s members appear to be citizens of Ohio. See id. at Ex. C. Furthermore,
25
     Plaintiff is located at 8366 Princeton Glendale Road, Suite B5, West Chester, Ohio
26
     45069. See id. at Ex. B.
27
28
                                                 3
                                        NOTICE OF REMOVAL
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 1           7.    Defendant’s Citizenship: Under 28 U.S.C. § 1332(c), “a corporation
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     shall be deemed to be a citizen of any State by which it has been incorporated and
 3
 4   of the State where it has its principal place of business.” Defendant is a citizen of
 5   the State of Delaware, where it is incorporated. See Declaration of Cathlin Sullivan
 6
     (“Sullivan Decl.”) at ¶ 3. Defendant’s principal place of business is located at 228
 7
 8   Strawbridge Drive, Moorestown, New Jersey 08057. See id. Therefore, Plaintiff is
 9   likely a citizen of Ohio, and Defendant is a citizen of Delaware and New Jersey,
10
     which means there is diversity of citizenship among them.1
11
12           8.    Doe Defendants: Under 28 U.S.C. § 1441(b)(1), the residence of
13   fictitious and unknown defendants should be disregarded for purposes of
14
     establishing removal jurisdiction under 28 U.S.C. § 1332. See, e.g., McCabe v.
15
16   General Foods Corp., 811 F.2d 1336, 1339 (9th Cir. 1987) (disregarding “Doe”
17   defendants for purposes of determining diversity jurisdiction where the court has
18
     “no information as to who they are or they live or their relationship to the action”);
19
20   see also Fristoe v. Reynolds Metals Co., 615 F.2d 1209, 1213 (9th Cir. 1980) (“the
21   unknown defendants sued as ‘Does’ need not be joined in a removal petition.”)
22
     (internal citations omitted).
23
24
25
26
27   1
      Plaintiff incorrectly alleges Defendant is a citizen of California. It is not. See
28   Sullivan Decl. at ¶ 4. Even if it was, however, there still would be diversity of
     citizenship, since Plaintiff appears to be a citizen of Ohio.
                                                 4
                                       NOTICE OF REMOVAL
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 1           9.    Amount in Controversy: The Complaint alleges it seeks over $353,190
 2
     in damages. This is a case with more than $75,000 in controversy and, therefore, it
 3
 4   satisfies 28 U.S.C. § 1332(a)’s amount in controversy requirement.
 5                                    NOTICE OF REMOVAL
 6
             10.   Consistent with 28 U.S.C. § 1446(d), written notice of the filing of
 7
 8   this Notice of Removal will be filed with the Clerk of the Superior Court of the
 9   State of California, County of Orange, in the State-Court Action.
10
             11.   In addition, Plaintiff has been served with this Notice of Removal, and
11
12   the additional supporting pleadings.
13           12.   By filing this Notice of Removal, Defendant does not waive any
14
     jurisdictional or other defenses that might be available to it.
15
16           13.   Defendant reserves the right to amend or supplement this Notice of
17   Removal.
18
             WHEREFORE, Defendant hereby removes this action from the Superior
19
20   Court of the State of California, County of Orange, to the United District Court for
21   the Central District of California.
22
23   Dated: September 10, 2021                      FOX ROTHSCHILD LLP
24
25                                                  /s/ Nona Yegazarian
                                                    Nona Yegazarian
26                                                  Attorneys for Defendant
                                                    TABULA RASA HEALTHCARE, INC.
27
28
                                                5
                                       NOTICE OF REMOVAL
     126091045.1
